612012017 Case 1:17-cv-04327-LL SxRWMl. BADGGLUTREHAs 2OonfeRneeSihew] 06/21/17 Page 1 of 1

Google

 
 

Mike Dash <mdash@ndap-llc.com>

 

 

BAP: Buy Auto Parts - Conference Call Update

 

David Gitman <david@gitman.net> Wed, Dec 7, 2016 at 4:03 AM
To: Jeremy Falk <jeremy.falk@gmail.com>, Mike Dash <mdash@ndap-lic.com>

Hi Guys,
I'm not going to be able to help much right now as I'm planning to leave CueConnect.

On Wed, Dec 7, 2016 at 5:32 AM Jeremy Falk <jeremy.falk@gmail.com> wrote:
| Dave and Mike,

| had another conference call with CEO of Buy Auto Parts this afternoon. It was a very positive discussion with Renee. |
| reiterated the different value-enhancing aspects of CPK to BAP. Although there was some push back on their needs, |
' was able to show how CPK can further enhance their business. Let's all discuss the details next week.

Telephone Call: A conference is scheduled for Wednesday 12/21 at 3:30pm ET. They want to do a deep dive on the
| technology.

BAP attendees will include: CEO, CTO, Product and marketing team members.
. CPK attendees: Dave, Mike, Alice, Jeremy

Agenda list: Renee asked for an agenda/topic list to review with her team prior to the call. She will then want to possibly
: include other subject matters.

- Question - Dave/Mike: When do we think I can circulate an agenda/topic list to Renee?

| Jeremy

https://mail .google.com/mail/u/2/Iui=2&ik=cc55727e1 c&view=pt&msg=158d886a | 266ac20&q=gi tman%20n0t%20much%20hel p&qs=truek&search=query&dsqt=1&... 1!
